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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO

PARKER-HANNIFIN CORPORATION )
and PARKER INTANGIBLES LLC  )
                            )
      Plaintiff             )
                            )
      v.                    )
                            )                        CIVIL ACTION No. 1:07CV01709
BALDWIN FILTERS, INC. and   )
CLARCOR INC.                )
                            )
                            )
      Defendant             )

                               ORDER OF DISMISSAL

        Plaintiff Parker-Hannifin Corporation (“Parker”) having filed a Complaint against

Defendant Baldwin Filters, Inc and CLARCOR Inc. (collectively “Defendants”) alleging

that U.S. Patent Nos 5,643,446, 6,328,883 and D441,422 (“the Asserted Patents”) are

valid and infringed, and Defendants having denied infringing the Asserted Patents and

alleging that the Asserted Patents are invalid; and the parties having agreed upon a basis

for the settlement of the matters alleged in the Complaint.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

   1.      This Court has jurisdiction over the parties and the subject matter of this

           action.

   2.      Plaintiff Parker is the exclusive licensee of the Asserted Patents.

   3.      The parties have entered into a Settlement Agreement, dated August 12, 2008

           (“Settlement Agreement”), to resolve all claims by the parties relating to this

           matter.



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        4.                The present action is dismissed with prejudice, and all orders are vacated.

        5.                Each party shall bear its own costs and attorney’s fees.

        6.                The jurisdiction of the Court continues for the purpose of the enforcement of

                          the Settlement Agreement, and for making any further orders necessary or

                          proper relating to this Order.

                                       12th day of ________.
                 It is so ordered this ____         September


                                                                                                                 /s/ Patricia A. Gaughan
                                                                                                            ___________________________________
                                                                                                                   Judge Patricia A. Gaughan

Approved:

/s/ Francis DiGiovanni (with permission)                                                                        /s/ Mark Pals
_________________________________________________________________________________________________________       _________________________________________________________________________________________________________




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                                                                                                                Counsel for Defendants CLARCOR Inc.
                                                                                                                and Baldwin Filters, Inc.



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